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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                                              )
UNITED STATES OF AMERICA                      )
                                              )
                 v.                           )      No. 16-cr-10107-5
                                              )
MICHAEL HABICHT,                              )
          Defendant.                          )
                                              )


                      DEFENDANT’S SENTENCING MEMORANDUM

       The Defendant, Michael Habicht (“Habicht”), submits this memorandum in support of

his request for a sentence of two years probation. In addition, Habicht requests that the Court not

impose a fine.

       I.        Introduction

       Habicht pled guilty to a single count of gambling in violation of 18 U.S.C. §1955. The

recommended sentence is sufficient to satisfy the goals of sentencing pursuant to 18 U.S.C §

3533(a).

       First, Habicht had a minor role in the offense. He did not participate in the overarching

extortion scheme which resulted in lengthy sentences for several of his co-defendants. Habicht

simply accepted bets from a relatively small number of bettors and relayed them to Yerardi.

Habicht was not charged, as were all his co-defendants, with extortion.

       Second, although Habicht has a significant criminal history, his last offense conduct

occurred in 1990 and 1991, when Habicht was in his early 30s. He is now 60 years old. His

only arrest, after his release from prison in 2007, was for operating under the influence nine

years ago.
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       Third, Habicht was addicted to the use of opiates during the period of his current offense.

See Presentence Report, paragraphs 79-83. His addiction contributed to his perceived need to

make money by gambling. Habicht also suffers from atrial fibrillation, which was diagnosed in

1982. See Presentence Report, paragraphs 74-75. This condition is still problematic and has

affected Habicht’s ability to maintain employment, especially as a painter. See Presentence

Report, paragraphs 86-89. As a result of his heart condition, Habicht has been deemed disabled

by the Commonwealth of Massachusetts.

       Finally, Habicht’s mother, Marie, is 87 years old and lives in elderly housing in Boston’s

North End. Marie is a widow and Habicht sees or speaks with her several times a day. Habicht

is his mother’s primary caretaker. Incarceration of Habicht would have devastating

consequences to his mother.

       II.     Sentencing Considerations.

       A sentencing court’s approach is well established. Following United States v. Booker,

543 U.S. 220 (2005), the United States Sentencing Guidelines are no longer mandatory but,

rather, advisory. The Guidelines are but one of the factors to consider in crafting an appropriate

sentence. Sentences should be crafted with the primary sentencing mandate of 18 U.S.C. §

3553(a) in mind, which states that courts must impose the minimally-sufficient sentence to

achieve the statutory purposes of punishment – justice, deterrence, incapacitation, and

rehabilitation. That is:

               The court shall impose a sentence sufficient, but not greater
               than necessary, to comply with the purposes set forth in
               [18 U.S.C. § 3553(a)(2)].

18 U.S.C. § 3553(a)(emphasis added). The Court should “‘consider every convicted person as an

individual and every case as an unique study in the human failings that sometimes mitigate,



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sometimes magnify, the crime and the punishment to ensue.’” United States v. Martin, 520 F.3d

87, 91 (1st Cir. 2008) (quoting Gall v. United States, 552 U.S. 38, 52 (2007)).

       In Gall, the Supreme Court outlined the procedures to be followed in the post-Booker

sentencing regime.1 First, the sentencing court must correctly calculate the Guidelines to

determine a “starting point.” Martin, 520 F.3d at 91. This includes consideration of departure

grounds. Id. While the Guidelines continue to be important, they are neither presumptively

controlling, nor per se reasonable. Gall, 552 U.S. at 49-50; Martin, 520 F.3d at 91. Indeed,

“courts may vary [from Guidelines ranges] based solely on policy considerations, including

disagreements with the Guidelines.” Kimbrough v. United States, 552 U.S. 85, 101

(2007)(internal quotations omitted). See also United States v. Rodriguez, 527 F.3d 221, 227 (1st

Cir. 2008)(“a sentencing court can deviate from the guidelines based on general policy

considerations.”).

       After calculating the guidelines sentencing range, the sentencing court must next consider

the factors delineated in 18 U.S.C. § 3553(a) in determining what sentence is “sufficient, but not

greater than necessary” to accomplish the goals of sentencing. Those factors include: (1) the

nature and circumstances of the offense and the history and characteristics of the defendant; (2)

the need for the sentence imposed; (3) the kinds of sentences of available; (4) any relevant policy

statement issued by the Sentencing Commission; (5) the need to avoid unwarranted sentencing

disparity; and (6) the need to provide restitution. 18 U.S.C. § 3553(a); Gall, 552 U.S. at 50 n.6.



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          In Gall, the Court “reject[ed] an appellate rule that requires ‘extraordinary
circumstances to justify a sentence outside the Guidelines range.’” Id. at 47. The Court also
made it clear that appellate courts are not to impose their own judgments on what appropriate
sentences should be in particular cases. So long as the record demonstrates that the district court
considered the § 3553(a) factors and supported its sentence with a rationale supported by the
record, the sentence should stand under the deferential abuse of discretion standard on appeal.
Id. at 50-51.
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       These factors should not be viewed as a limitation on a sentencing judge’s ability to

consider facts and circumstances that do not fit neatly into the enumerated factors. Ultimately, a

sentencing court may consider any circumstance that bears on the overarching principle that

courts should craft sentences that are “sufficient, but not greater than necessary” to accomplish

the goals of sentencing. See Rodriguez, 527 F.3d at 229 (“even if a specific sentencing rationale

cannot be considered under the aegis of a particular sub-part of section 3553(a), such a

proscription does not bar consideration of that factor in the course of a more holistic review of

the full panoply of section 3553(a) factors.”).

       III.    Guidelines Calculation.

       Habicht’s Guidelines total offense level is 12. With acceptance of responsibility, his

offense level is 10, with a Guideline range of 10-16 months. For the reasons set forth above,

Habicht seeks a two point reduction for his role in the offense, pursuant to Section 3B1.2(b) of

the Guidelines. The “average participant” charged in this enterprise was charged with and

pleaded guilty to extortion. Habicht’s role was limited to accepting bets which he relayed to

Yerardi or Corso. He was on the lowest rung of the ladder in this enterprise. See Application

Notes 2, 3(A) and 5. At a level 8, the Guideline range is 6-12 months, in Zone B.

       IV.     Section 3553(a) Factors

       Consideration of the factors set forth in 18 U.S.C. § 3553(a), a sentence of two years

probation is sufficient, but not greater than necessary to accomplish the goals of sentencing.

Habicht is a man who, upon release from prison in 2007, has not been arrested, until the instant

offense, except for an OUI in 2008. In the instant case, his addiction to opiates was a factor in

his decision to act as an agent in the Yerardi gambling organization. Habicht submits that




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probation, including drug treatment and counseling for gambling addiction, is sufficient

punishment under Section 3553(a).

       V.      Request to waive the imposition of a fine.

       Habicht requests that the Court waive a fine in this matter. A fine is not appropriate as

Habicht is on SSI and has had difficulty working as a painter due to his atrial fibrillation

condition.

                                          CONCLUSION

       For the foregoing reasons, Habicht requests that the Court:

               1. Impose a sentence of two years probation with suggested conditions;

               2. Waive the imposition of a fine; and

               3. Order the return of the phone and $2,500 check for painting services, already
                  rendered, that were seized at the time of his arrest.


                                                      MICHAEL HABICHT
                                                      By his attorneys:

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Dated: June 6, 2017


                                 CERTIFICATE OF SERVICE

I hereby certify that a copy of the above document was served upon counsel for the government,
in hand on this date and electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants.

                                       /s/ Thomas J. Butters
                                         Thomas J. Butters
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